      CASE 0:22-cv-00462-JRT-BRT         Doc. 1-2    Filed 02/18/22      Page 1 of 23




 STATE OF MINNESOTA                                               DISTRICT COURT

 COI.INTY OF HENNEPIN                                 FOURTH JUDICIAL DISTzuCT

Jamie Bunkholt,                                        Court File No.:

             Plaintiff,                                       COMPLAINT

      V                                                JURY TRIAL DEMANDED

John Doe 1, acting in his individual
capacity as a Minneapolis Police Officer;
John Does 2-6, acting in their individual
capacities as Minneapoiis Police Officers;
                                                                 a)
John Does 7 and 8, acting in their                               m
individual and official capacities as                            eo
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supervisory Minneapolis Police Officers;
Medaria Arradondo, acting in his                                  r-
                                                                  ri
individual and official capacities as the                         v,
                                                                  rn
Minneapolis Chief of Police; and the City                         2
of Minneapolis,                                                   m
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              Defendants


       For her Complaint, Plaintiff Jamie Bunkholt ("Bunkholt") states and alleges as

follows:

       1.     This is an action for money damages arising out of the violation of

Bunkholt's constitutional rights by Defendants, who used, or authorized the use of

excessive and deadly force against Ms. Bunkholt in retaliation for the exercise of her

First Amendment right to peaceably assemble outside of the Minneapolis Police

Department's 3rd Precinct. Ms. Bunkholt also brings this lawsuit against the John Doe

Supervisors (supervisory Def'endants), the City, and Defendant Minneapolis Police




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      CASE 0:22-cv-00462-JRT-BRT             Doc. 1-2    Filed 02/18/22    Page 2 of 23




Department Chief Medaria Arradondo in their roles as trainers, superuisors, and policy-

makers.

       2.     Ms. Bunkholt also brings this lawsuit against Defendant City of

Minneapolis under the United States Supreme Court case Monell v. Department of Social

Services,436 U.S. 658 (1978), as well as state law tort claims against all parties.

       3.     Ms. Bunkholt brings this action to vindicate her well-settled civil rights

pursuantto Minnesota state law,42 U.S.C. $$ 1983 and 1988, andtheFirst, Fourth and

Fourteenth amendments to the United States Constitution. These claims arise under

Minnesota law, as well as federal civil rights and constitutional law, and the events

underlying this Complaint took place in Hennepin County, Minnesota. As a result, the

Minnesota state courts, through their general jurisdiction governing civil suits in the State

of Minnesota, have subject matter jurisdiction over the Plaintiff s claims. Venue is proper

pursuant to Minn. Stat. $ 542.09 because the cause of action in this matter arose in

Hennepin County.

       4.         At the time of the incident, Ms. Bunkholt was 33 years old, and a United

States citizen.

       5.         Upon information and belief, all Defendants were at all times material to

this lawsuit, United States citizens residing in the State of Minnesota.

       6.         Defendants John Does 1-6, upon information and belief, were at all times

material herein citizens of the United States, residents of the State of Minnesota, and duly

appointed and acting as officers of the Minneapolis Police Department. They are sued in

their individual capacities.

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                                                                                          Ex. 2
      CASE 0:22-cv-00462-JRT-BRT          Doc. 1-2    Filed 02/18/22     Page 3 of 23




         1.    Defendants John Does 7 and 8, upon information and belief, were at all

times material herein citizens of the United States, residents of the State of Minnesota,

and duly appointed and acting as supervisory officers of the Minneapolis Police

Department. They are sued in their individual and official capacities.

         8.    Defendant Medaria Arradondo ("Chief Arradondo") was at all times

material herein the Chief of the Minneapolis Police Department and a policymaker for

the MPD. He is sued in his individual and official capacities.

         9.    Defendant City of Minneapolis was at all relevant times a duly incorporated

municipal entity under the laws of Minnesota, and was at all times relevant to this

lawsuit, the political and corporate body charged with training, control and supervision

over all personnel of the Minneapolis Police Department.

         10. On May 27 , 2020, Ms. Bunkholt, a photographer and visual artist from
Atlanta, Georgia, was in town to visit friends and family, and to photograph, observe and

show solidarity with the peaceful citizens gathering in Minneapolis to protest the death of

George Floyd at the hands of police officers days earlier.

 THE MURDER OF GEORGE FLOYD AND THE WORLD- WIDE UPRTSING

         11. On May 25,2020,just two days before the law enforcement's assault on
Ms. Bunkholt, Minneapolis police off,rcer Derek Chauvin killed George Floyd, aided and

abetted by three other Minneapolis police officers.

         12. The killing was captured on cell phone video by a teenager who then posted
the video on her Facebook page. The video quickly went viral to a stunned and horrified

world.
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         CASE 0:22-cv-00462-JRT-BRT         Doc. 1-2   Filed 02/18/22    Page 4 of 23




         I   3.   The grotesque killing of George Floyd was but one outrage perpetrated by

the Minneapolis police department against its citizens in the last fifry years.

         14. The killing of George Floyd, the fact that the entire incident was captured
in excruciating detail on cell phone video, and Defendant Minneapolis Police

Department's well-documented abuse of its population triggered protests across the

country and around the world.

         15. The murder of George Floyd spurred a nationwide reckoning on policing
and race relations, and set off worldwide protests.

          16. For days after the killing of George Floyd, protesters gathered at the Third
Precinct, the home precinct for Derek Chauvin and the other officers involved in his

death.

          17. During the day, protesters at the Third Precinct were overwhelmingly
peaceful. The crowd included people of every stripe all demanding an overhaul of the

criminal justice system in general, and the Minneapolis Police Department in parlicular.

Parents, grandparents, and even small children made the pilgrimage to the Third Precinct

to bear witness and to be involved in the spectacle.

          18. Regardless of the peaceful actions of protestors, MPD, predictably,
responded with force, including excessive and unreasonable use of tear gas, 40mm

impact projectiles, and other "less lethal" munitions.

          19. On May 26,2A20, Minneapolis Councilmember Andrew Johnson
clenounced the police use of chemicals and projectiles, stating: "What I saw from some



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      CASE 0:22-cv-00462-JRT-BRT           Doc. 1-2     Filed 02/18/22     Page 5 of 23




of the scenes last night looked to be disproportionate and escalating force. ..lt's extremely

concerning, and we need answers and accountability for that."

       20. Another Minneapolis Councilmember, Steve Fletcher, described on May
28,2020, that the police had flipped the script on peaceful protesters: "The community

gathered Tuesday night to mourn and express their outrage, peacefully. Tactical decisions

byMPD shifted the dynamic of the crowd...to confrontation."

       21. Minneapolis Councilmember Jeremiah Ellison described the same
phenomenon. Councilmember Ellison said: "The police always respond this way to

crowds, and things get out of hand...And I don't know how the strategy doesn't change.

And I'll tell you right now I've made calls requesting that the strategy change and it still

has not."

       22. On May 27 ,2020, Minneapolis Mayor Jacob Frey told residents that he
understood their anger and he encouraged peaceful protests: "What we need now in terms

of protesting is peaceful protesting. . . No one out there will fight harder for their right (to

protest). . . But those rights stop at a line when public safety is at risk and we need to be

making sure that we're looking out for the safety of our residents."

       23. That was the same day Ms. Bunkholt became a victim of excessive force by
       MPD while committing no crimes and peacefully photographing the protests.

                     BUNI(HO T IS INJURED BY D                      ANTS

       24. Around dusk, Ms. Bunkholt was outside the 3rd Precinct on Lake Street,
milling around with other citizens. The scene was calm, non-violent, almost cathafiic as

civilians chanted, held up signs, and sang at the location that they viewed to be ground-

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      CASE 0:22-cv-00462-JRT-BRT          Doc. 1-2    Filed 02/18/22    Page 6 of 23




zero for Minneapolis police abuses. Like everyone else she could see, Ms. Bunkholt was

cornmitting no crime; merely exercising her right to peacefully assemble, observe law

enforcement activities, and to protest abuses by police.

       25. The protests remained peaceful at this time. No order to disperse had been
given by police, and Plaintiff had not been given any directives or orders by police. She

was committing no crimes, possessed no weapons, and did not damage any properfy.

       26. Suddenly and without warning or provocation Defendant Minneapolis
police officer John Doe I fired a rubber bullet, or 40mm impact projectile, from the roof

of the 3rd Precinct, striking Ms. Bunkholt in the back of her head. It hardly needs to be

pointed out that firing a rock-hard rubber bullet into the head of an innocent civilian

constitutes unwarranted deadly force, and has no connection to any legitimate law

enforcement objective. By firing the rubber bullet at Plaintiff in these circumstances,

Defendant John Doe 1 caused her to be seized unreasonably.

       27. Badly hurt, Ms. Bunkholt was carried to a safe location by others to be
stabilized. No Defendants or other MPD assisted her in any way.

       28. As a result of the acts and omissions of Defendants, Ms. Bunkholt has
sustained numerous neurological injuries, a concussion, pain and suffering, medical bills,

other injuries both permanent and temporary, as well as lasting emotional trauma.

       29. The next day, while Ms. Bunkholt iay out of commission, grievously
injured by Defendants' unlawful and excessive use of force against a law-abiding citizen

in response to peaceful protests, the City held a press conference, issuing the following

statement: "The City encourages everyone to exercise caution and stay safe while

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                                                                                       Ex. 2
      CASE 0:22-cv-00462-JRT-BRT            Doc. 1-2     Filed 02/18/22      Page 7 of 23




parlicipating in demonstrations, including wearing masks and physical distancing as

much as possible to prevent the spread of COVID-19. The City has made hundreds of

masks available to protesters this week."

       30. The irony of the contrast between the City's public-facing statements, and
the reality of its response on the ground cannot be overstated. The City has a well-

document, pervasive history of covering up unchecked excessive force and police

misconduct.

       31. While MPD and the City told the news media and the world they supported
peaceful protests, police commanders and supervisors were authorizing the indiscriminate

and unreasonable use of weapons against civilians. As was exposed during a recent

criminal trial involving police officers riding around during protests in an unmarksd van

"hunting" protestors and shooting them - without warning - with the same weapon used
                                                   o'oolnstead
against Plaintiff, one police commander stated                   of chasing people around...you

guys are out hunting people now, and it's just a nice change of tempo."

       32. Bunkholt took part in classic First Amendment-protected activity. To
paraphrase Councilperson Ellison, the MPD did what it always does. Bunkholt therefore

became one of the many victims of the MPD's pattern and practice of excessive force

without fear of repercussion.

       33. Ms. Bunkholt was shot before any curfew had been announced. She was
not committing any crimes, displayed no aggression, and was unarmed. No warnings

were given by Defendants, there was no looting or rioting occurring, and the scene was

not chaotic or dangerous.

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      CASE 0:22-cv-00462-JRT-BRT              Doc. 1-2   Filed 02/18/22   Page 8 of 23




       34. There can be no mistake that the attack on Ms. Bunkholt was intentional.
The design of the weapon makes accidental firing impossible. Defendant Doe I therefore,

volitionally held the launcher in firing position, requiring him to hold the foregrip of the

launcher and placing his firing hand on the pistolgrip of the launcher.

       35. Defendant Doe 1 volitionally moved the safety lever on the launcher from
the "safe" position to the "fire" position.

       36. When the safety lever of the launcher is in the "safe" position, a finger
cannot be placed on the trigger, and the weapon cannot be fired.

       37. It is only when the safety lever is in the "fire" position that a finger can be
placed on the trigger, making the launcher ready to fire.

       38. Defendant John Doe 1 volitionally inserted his finger into the trigger guard,
aimed it at his intended target - Plaintiff - and fired by squeezing the trigger. All of these

were intentional actions on the part of John Doe Defendant 1. The use of force caused

serious injury to Plaintiff.

       39. Despite being contrary to MPD policy, John Does I's actions were under
the supervision and direction, and with the approval of, the supervisory Defendants, the

Chief, and the City. No employee of the City rendered any aid to Ms. Bunkholt.

                  THE UNREASONABLE USE OF DEADLY FORCE

        4A. MPD Policy 5-317 addresses the 40mm launcher that Defendant John Doe
1 used to shoot Ms. Bunkholt in the head.


        4t.    Under Policy 5-317(I), the "MPD recognizes that combative, non-

compliant, anned and or otherwise violent subjects cause handling and control problems

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                                                                                         Ex. 2
      CASE 0:22-cv-00462-JRT-BRT           Doc. 1-2        Filed 02/18/22   Page 9 of 23




that requires special training and equipment. The MPD has adopted the less-lethal force

philosophy to assist with the de-escalation of these potentially violent confrontations."

See also, Policy 5- 317(VXC), noting the launcher "can be used when the incapacitation


of a violent or potentially violent subject is desired."

       42. Policy 5-317(II) defines a 40mm less-lethal round as a "[d]irect fire round
used in situations where maximum deliverable energy is desired for the incapacitation of

an aggressive, non-complaint subj ect."

       43. Under Policy 5-317(IID(D), MPD officers are forbidden from deploying the
40mm launchers for crowd-management purposes.

       44. Policy 5-317(IID(BX1) notes that "[t]he use of the 40mm less-lethal round
should be considered a level slightly higher than the use of an impact weapon and less

than deadly force when deployed to areas of the subject's body that are considered

unlikely to cause death or serious physical injury."

        45. The policy further directs officers - when authorized to use the launcher -
to aim for the lower extremities, and avoid the head, neck, spine, groin, and kidneys. Ms.

Bunkholt was shot in the head.

         46. Policy 5-317(I\I)(BX2) states that "[o]fficers shall be aware that delivery of
 the 40mm impact projectiles to certain parts of the human body can cause grievous

 injury that can lead to permanent physical or mental incapacity or possible death."

       47. Policy 5-317(IV)(BX2) states that the "[a]reas susceptible to death or
possible severe injury are the head, neck, throat, and chest" and that these areas should be

avoided "[u]nless deadly force is justified." The policy further requires officers to render

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                                                                                           Ex. 2
     CASE 0:22-cv-00462-JRT-BRT          Doc. 1-2     Filed 02/18/22    Page 10 of 23




aid, photograph the subject and injuries, and report the force both in writing, and via

dispatch to a supervisor. Supervisors are notified because they are required to respond to

the scene anytime a 40mm round is used. A supervisor must review the incident and

complete a use-of-force review. Further, the responding supervisor(s) are to ensure that

the spent rounds are collected and property inventoried, if possible. See Policy 5-

3 17(v)(G)(3)-(4).


       48. Defendant John Doe 1's use of deadly force against Ms. Bunkholt
contravened MPD's explicit, written policy, and clearly established constitutional rights

of Plaintiff, but comported with the actual orders and direction given by the Supervisor

Defendants, the Chief, and the City during the protests.

       49. Upon information and belief, no aspect of the explicit policy above was
followed by any of the Defendants with regards to the projectile fired into Ms.

Bunkholt's head. No warning was given. She was not a threat. No force was authorized,

and certainly not deadly force. She was shot in the head, but no aid was rendered nor

documentation made. Upon information and belief, John Doe 1 was never disciplined by

the City or the Chief for the unauthorized use of force against Plaintiff, and no use of

force review was made by any supervisor.

       50. The City has long allowed its offrcers to violate the constitutional rights of
citizens and visitors without fear of consequence. The instances are too numerous to

completely recount here, and are well documented in this federal District.

       51. Numerous innocent civilians suffered injuries in similar circumstances to
Ptaintiff in late-May and early June of 20.20 at the hands of the City and its officers and

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      CASE 0:22-cv-00462-JRT-BRT         Doc. 1-2    Filed 02/18/22    Page 11 of 23




agents. Ethan Marks, Jaleel Stallings, and Soren Stevenson were all shot and injured with

"less lethal" projectiles during the protests, among many others.

        52. As was revealed by body worn camera footage in the trial where Stallings
was acquitted, and subsequently reported on by several news outlets, police officers in

Minneapolis in the relevant time period were riding around in vans shooting innocent

civilians with 40 mm weapons while saying "Be vewy vewy quiet. We're hunting

activists." I

        53. Additionally, upon information and belief, Defendants Does 1-6 either
failed to follow MPD policies with regard to report writing and supervisor notification or

falsified reports, utilizing systematic buzz words and phrases in an attempt to conceal the

unauthorized use of deadly force on Bunkholt.

         54. John Doe 1 was required by MPD Policy 5-306 to document the use of
force and notify a supervisor, as well as to remain on scene and render aid/document

injuries. The use df force report was required to be made by the end of the shift. None of

this occurred. The policy also required use of force supplements to be completed.

        55. Policy 4-602(A) mandated that "[a] short public narrative statement
describing the offense or incident" shall be prepared. Yet even this simple synopsis of

events was not completed with regard to the shooting of Bunkholt, or the others

mentioned.




1 "Minneapolis   Police Caught on Video Hunting Activists"
https:/iwww.rollingstone.com/politics/politics-features/minneapolis-police-video-
hunting-activists-j aleel-stalling s- | 24 1227 /
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     CASE 0:22-cv-00462-JRT-BRT           Doc. 1-2    Filed 02/18/22     Page 12 of 23




      56. If the applicable MPD policies outlined above had been followed, the
following information would be readily available

                          A description of the scene and events leading up Defendant

                          Doe I pulling thetrigger

                     ll   The identity of shooter

                    iii. The identities of witness officers
                    lv. The identities of lay witnesses at the scene

                     v. The treatment and aid rendered by MPD off,tcers (if any)
                    vi. A description of the injuries Bunkholt suffered
                   vii. Identification of the launcher used and projectile deployed by the
                          shooter

       51.     Instead, rank-and-file MPD officers have felt free to flagrantly violate

subjects'constitutional rights under department-wide reporting methods to cover up their

misconduct.

       58.     Despite policies stating otherwise (see MPD Policy 5-105 - requiring

officers to "immediately report any violation of rules, regulations or laws that come to

their attention, including force-related misconduct"), candor with regard to fellow

officers' obvious constitutional violations is nonexistent at the MPD.

       59.     Instead, rank-and-file MPD officers (and beyond) have helped said

unconstitutional actors to hide behind a code of silence and non-cooperation.

       60.     MPD officers have been instructed by their Union (the Minneapolis Police

F'ederation) not to aid in investigations into other officers, and they follow said

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      CASE 0:22-cv-00462-JRT-BRT            Doc. 1-2     Filed 02/18/22     Page 13 of 23




instruction.2

       61   .   The supervisory Defendants and policyrnakers at the City of Minneapolis

and the Minneapolis Police Department had actual knowledge of the constitutionally

infirm reporting and lack of adherence to MPD policies among officers or were

deliberately indifferent to the need for proper reporting by turning a blind eye

       62.      Not only are MPD officers routinely not disciplined when they fail to

truthfully report the unauthorized use of deadly force or fail to cooperate with

investigationsinto fellow officers, the Minneapolis Police Federation is actively

encouraging them to do so.

       63.      Other than lip service, there has been no response by the City and Chief

Arradondo to curb this practice of behavior by MPD officers and the Minneapolis Police

Federation.

       64.      Consequently, Federation members know that they can act in the above-

described ways with complete impunity.

       65.      The actions of the uncooperative and policy-violating MPD officers, and

the failures of the City and Chief Arradondo to discipline the officers for such conduct,

fly in the face of MPD's Code of Conduct, embolden officers to act without regard for the

rights of citizens, and were a moving force behind the deprivation of Bunkholt's federal

civii rights



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      CASE 0:22-cv-00462-JRT-BRT              Doc. 1-2     Filed 02/18/22    Page 14 of 23




       66.          Some combination of the failure to report, the failure to report truthfully,

and the failure to cooperate in investigations has occurred here

       67.          Defendants Does 2-6 actlely encouraged Defendant Doe 1's use of

excessive force by colluding with Defendant Doe 1 and one another to eschew report

writing and supervisor notification, or to fail to report truthfully

       68.          Defendants Does 1-6 used the absence of report writing and supervisor

notification or the absence of truthful report writing to frustrate Bunkholt's assertion of

her civil rights.

        69.         Defendants Does 7-8, the City and Chief Aradondo have acquiesced in

said collusion by failing to require adherence to policies regarding report writing,

superuisor notification and policy-violation notifications.

        10.         Defendants Does 7-8, the Cify and Chief Arradondo have acquiesced in

further frustration of Bunkholt's civil rights by failing to require adherence to policies

regardingreport writing, supervisor notification and policy-violation notifications

        71.         Defendants Does 7-8, the City and Chief Arradondo have acquiesced in

numerous additional policy violations by Defendants Does 1-6 going unpunished with

regard to the events surrounding the shooting of Bunkholt.

        72.         The supervisory Defendants were causally and directly involved in the

violation of Bunkholt's constitutional rights

        73.         As a result of the department-wide reporting and cover-up methods,

Bunkholt has been unable to identify the shooter - Defendant Doe 1 - by name.

        74.         Further, it is clear from the news video that multiple officers in the area of

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                                                                                            Ex. 2
     CASE 0:22-cv-00462-JRT-BRT           Doc. 1-2     Filed 02/18/22    Page 15 of 23




Bunkholt's shooting were equipped with body-worn cameras (BWCs).

       7   5.   MPD policies required that the officers at the scene have their BWCs in

recording mode because the following applied to the subject incident: in-person contact

by officers, use of force by offi.cers, use of deadly force by officer and the situation

amounted to a critical incident as defined by MPD policy. See policy 4-223.

       76.      In the event t[at the BWCs were not in recording mode prior to the

shooting of Bunkholt, they were required to be "activated as soon as it [was] safe to do

so" under Policy 4-223 (5)(6)(a)(vii).

       17.      The digital audio-video evidence that the BWCs were to have collected

from the scene was to be uploaded at the conclusion of the officers' shifts with the proper

classification that linked it to the proper incident under Policy a-223(8)(a)-(d).

       78.      Fail-safes in the MPD BWC policy also would ensure that some

information regarding the event was reported in the event that the officers at the scene of

Defendant Doe I's shooting of Bunkholt had failed to put their BWCs in recording mode.

See Policy 4-223 (6)(d).


       79.      However, rank-and-file MPD officers have felt free to violate MPD's

policies with regard to BWC usage, which dovetails with the department-wide cover-up

methods described above.

       80.      The supervisory Defendants and policymakers at the MPD and the City of

Minneapolis had actual knowledge of policy violations among officers with regard to the

BWCs or were deliberately indifferent to the need for proper use or reporling of the

failure to activate the BWCs by turning a blind eye.

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                                                                                           Ex. 2
     CASE 0:22-cv-00462-JRT-BRT            Doc. 1-2     Filed 02/18/22   Page 16 of 23




       81.     The lack of consequences imposed upon MPD officers who protect their

own or who, in violation of their sworn duties as peace officers, fail to cooperate with

investigations into such matters ensures that the Blue Wall of Silence remains intact.

Chief Arradondo has repeatedly failed to hold such officers accountable

       82.     Numerous MPD officers and the City continue to hamper Bunkholt's

ability to investigate and vindicate her civil rights

       83.     MPD Policy 5-101.01 provides that:

        The integrity of police service is based on truthfulness. Officers shall not
        willfully or knowingly make an untruthful statement, verbally or written,
        or knowingly omit pertinent information pertaining to his/her official duty
        as a Minneapolis Police Officer.


        MPD employees shall not willfully or knowingly make an untruthful
        statementor knowingly omit pertinent information in the presence of any
        supervisor, intended for the information of any superuisor or before any
        court or hearing. Officers shall not make any false statements to justifu a
        criminal or traffic charge or seek to unlawfully influence the outcome of
        any investigation.

        These requirements apply to any report, whether verbal or written,
        conceming official MPD business including, but not limited to the
        employee's employmentor position regardless of whether such information
        is requested during a formalinvestigation or during the daily course of
        business.

        MPD employees are obligated under this policy to respond fully and truthfully
        toquestions about any action taken that relates to the employee's employment
        or position regardless of whether such information is requested during a formal
        investigation or during the daily course of business

       84.      The MPD's continued failure to discipline officers, through

policymakers Defendants Does 7-8 and Chief Arradondo, causes MPD officers to act

with impunify and without due regard for the Constitution and laws of the United


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                                                                                       Ex. 2
     CASE 0:22-cv-00462-JRT-BRT              Doc. 1-2    Filed 02/18/22    Page 17 of 23




States. The consequences of this are becoming all the more apparent and pervasive.

          85.       Ms. Bunkholt continues to suffer the consequences of the Defendants'

actions to this day

                                             Count I
               42 U.S.C. $ 1983 -Fourth and Fourteenth Amendment Violations
                  Plaintiff v. Defendant John Doe l, in their individual capacity

          86. Ms. Bunkholt realleges each of the preceding allegations as if set forth fully
herein.

          87   .   The above described acts - under color of state law - constitute excessive

and deadly use of force, an unlawful seizure, and all in violation of the Fourth

Amendment, as incorporated through the Fourteenth Amendment.

          88. Defendants' conduct violated Ms. Bunkholt's clearly-established and well-
settled civil rights to be free from unreasonable seizure, and excessive force.

          89. Defendants' acts and omissions directly and proximately caused Ms.
Bunkholt's injuries and damages. Ms. Bunkholt is therefore entitled to a compensatory

damages award in excess of $100,000.00.

          90. Defendants subjected Ms. Bunkholt to these deprivations in such a manner
as to render Defendants liable for punitive damages, which are hereby alleged as a matter


of federal common law pursuant to Smith v. Wade,461 U.S. 30 (i983), in an amount

exceeding $500,000.00.

          91. Ms. Bunkholt entitled to recovery of prejudgment interest as well as her
costs against Defendants, including reasonable attorncys' fees under 42 U.S.C. $ 1988.




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     CASE 0:22-cv-00462-JRT-BRT            Doc. 1-2    Filed 02/18/22    Page 18 of 23




                                           Count II
              42 U.S.C. $ 1983 - First and Fourteenth Amendment Violations
              Plaintiff v. Defendant John Does I -6, in their individual capacities

          92. Ms. Bunkholt realleges each of the preceding allegations as if set forth fully
herein.

          93. On the evening of May 27,2020, Ms. Bunkholt was engaged in her
constitutionally protected right to monitor police activity, to free speech, to protest law

enforcement abuses, and to peacefully assemble

          94. Defendants John Does 1-6, acting under color of law, retaliated against Ms.
Bunkholt for engaging in her constitutionally protected activity by shooting her with a

rubber builet in the head. Such conduct constitutes unreasonable and deadly force.

          95. The illegal deadly force used on Ms. Bunkholt was covered up by John
Does 1-6 who hid behind their anonymity and concealed their deployment of

unreasonable and deadly force.

          96. The deadly force deployed against Ms. Bunkholt was specifically intended
to deter the exercise of and chill her First Amendment right to observe police activity and

to peacefully protest police abuses. Defendants subjected her to these deprivations either

maliciously or by acting with reckless disregard for whether her rights would be violated.

          97. As a direct and proximate cause of the Defendants'unconstitutional
conduct, Ms. Bunkholt is entitled to damages exceeding $100,000.00.

          98. Punitive damages in an amount exceeding $500,000.00 are available
against Defendants and are claimed as a matter of federal common law under Smith v




                                               18

                                                                                       Ex. 2
      CASE 0:22-cv-00462-JRT-BRT            Doc. 1-2   Filed 02/18/22   Page 19 of 23




Wade,46l U.S. 30 (1983), and are not subject to the pleading requirements under

Minnesota law

                                      Count III
                                 Supervisory Liability
    Plaintiff v. John Does 7-B and Medaria Arradondo, in their individual capacities


          99. Ms. Bunkholt realleges each of the preceding allegations as if set forth fully
herein.

          100. Defendants John Does 7-8 and Medaria Arradondo at all times material
heretowere members of the Minneapolis Police Department with supervisory

responsibilities over Defendants John Does 1-6.

          101   . These supervisory Defendants at the City of Minneapolis had actual
knowledge of the constitutionally infirm force reporting in widespread use among

officers.

          IO2. As such, rank and file, such as Defendants John Does 1-6 with regard to
Bunkholt, freely and fragrantly violate citizens' constitutional rights using department-

widereporting methods to cover it up.

          103. The supervisory Defendants had actual knowledge of the improper
reportingby Defendants John Does 1-6 regarding the Bunkholt incident and other similar

incidents, further evidencing a policy or custom of constitutional misconduct.

          104. These supervisory Defendants, under color of state Iaw, acted with
deliberate indifference to, authorized or acquiesced in the violation of Bunkholt's

constitutional rights by Defendants John Does i-6.


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                                                                                       Ex. 2
     CASE 0:22-cv-00462-JRT-BRT            Doc. 1-2     Filed 02/18/22    Page 20 of 23




          105. As a direct and proximate result of the acts and omissions of Defendants

John Does 7-8 and Medaria Arradondo, Bunkholt suffered injuries, was forced to endure

great pain and mental suffering and was damaged in an amount exceeding $500,000,

          106. Punitive damages in an amount exceeding $500,000 are available against

Defendants John Does 7-8 and Medaria Arradondo and are hereby claimed as a matter of

federal common law under Smith v. Wade,461 U.S. 30 (1983), and as such, are not

subject to the pleading requirements or the differing standard of proof set forth in Minn

Stat. $ 549.20.

          107. Bunkholt is entitled to fully recover her costs, including reasonable

attorneys' fees, under42 U.S.C. $ 1988.

                                        Count IV
                                     Monell Liability
Plaintiff v. John Does 7-8, City of Minneapolis, and Medaria Arradondo, in their fficial
                                           capacities

          108. Ms. Bunkholt realleges each of the preceding allegations as if set forth fully
herein.

          109. Before May 27,2020, the City of Minneapolis, with deliberate indifference
tothe rights of citizens, initiated, tolerated, permitted, failed to correct, promoted and/or

ratified a custom, pattern or practice on the part of its officers, including the Defendants

herein, of the improper use of force, including deadly force.

          110. Through policymakers Defendants John Does 7-8 and Chief Arradondo,
and with the department's ratification and approval, by failing to discipline all officers




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     CASE 0:22-cv-00462-JRT-BRT              Doc. 1-2    Filed 02/18/22   Page 21 of 23




consistently on this point, there has been an approval of a deficient policy, custom, or

practice of the improper use of force, including deadly force.

       II      1. Bunkholt's injuries were directly and proximately caused by the
aforementioned acts and omissions and by the City's customs, patterns, and/or practices

and the City of Minneapolis is thereby liable in an amount exceeding $500,000

           l12. Bunkholt is entitled to fully recover her costs, including reasonable

 attorneys' fees, under42 U.S.C. $ 1988

                                              Count V
                                Minnesota Common Law Battery
                                    Plaintiff v. All Defendants

           113. Ms. Bunkholt realleges each of the preceding allegations as if set forth fully

 herein.

       ll4. Defendants committed the tort of battery by using force against Plaintiff s
person, without her consent, and causing her injuries


           115. Defendants'battery of Plaintiff was the direct and proximate cause of

 Plaintiffs injuries and money damages.

           1   16. The Minneapolis Police Department is jointly and severally liable for the

 actionsof Defendant Officers' under the doctrines of agency and respondeat superior.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Jamie Bunkholt prays for judgment against Defendants

as follows:

       1.          For a money judgment for damages on all Counts against all Defendants



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        CASE 0:22-cv-00462-JRT-BRT         Doc. 1-2       Filed 02/18/22      Page 22 of 23




jointly and severally, in excess of $500,000.00, the exact amount to be determined by a

Jury;

         2.    Forpunitive damages on Counts I, II and III, in excess of $500,000.00, in

an amount to be determined by a jury;

         3.    Prejudgment interest, disbursements, and costs, including reasonable

attorneys' fees pursuant to 42 U.S.C. $ 1988 and other applicable law; and

         4.    For such other and further relief as this Court deems just and equitable.



                                 ACKNOWLBDGEMBNT

         Plaintiff, through its undersigned attorneys, hereby acknowledges that costs,

disbursements, and reasonable attorney and witness fees may be awarded pursuant to

Minn. Stat. $ 549.211, to the parry against whom the allegations in this pleading are

asserted.




                                     Respectfully submitted,

                                     APPLEBAUM LAW FIRM

                                     /s/ Paul Appleb
Date: Jan. 17 ,2022                  Paul Applebaum, #2nA98
                                     First National Bank Bldg.
                                     332 Minnesota St., Ste. W1610
                                     St. Paul, MN 55101
                                     Phone: 651.222.2999
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                                     -and-


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             CASE 0:22-cv-00462-JRT-BRT    Doc. 1-2       Filed 02/18/22   Page 23 of 23
,




                                    ANDREW IRLBECK LAWYER CHTD.

        Dated: Jan. 17 ,2022
                                     /s/ Andrew M. Irlbeck
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                                     ATTORNEYS FOR MS. BUNKHOLT




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                                                                                       Ex. 2
